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                                                                       EXHIBIT - 1
        Plaintiff Name            Judge             Case #
Prgam, Nihrein             Johnson Coleman       22-cv-4034
Razzak, Uruja              Johnson Coleman       22-cv-3990
Larsen, Janel              Ellis                 22-cv-4030
Ellis, Patrick             Gottchall             22-cv-4050
Weaver, Carrie             Valderrama            22-cv-4033
Garcia, Dolores            Guzman                22-cv-4056
Kearney, Melinda           Norgle                22-cv-4051
Milbourne, Zachary         Guzman                22-cv-3988
DiCicco, Mary              Kness                 22-cv-4032
Powers Jackson, Sharita    Feinerman             22-cv-3992
Costner, Sevcan            Shah                  22-cv-4049
AlAyed, Ruba               Alonso                22-cv-3993
Quazi, Maria               Rowland               22-cv-4058
Cunningham, Kevin          Kendall               21-cv-5368
Furhmann, Juliana          Kendall               22-cv-4035
